   Case 2:07-md-01873-KDE-MBN Document 14406 Filed 06/17/10 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                                               MDL No. 1873
FORMALDEHYDE
PRODUCTS LIABILITY LITIGATION                                                    SECTION N(5)

                                                                       JUDGE ENGELHARDT

THIS DOCUMENT RELATES TO
Grace A. Gonzales, individually and as wrongful
death beneficiary and representative of S. M.M.,
et al v Forest River, Inc., et al
Case No. 2:10-cv-1358
______________________________________________________________________________

       NOTICE TO COURT OF PLAINTIFFS WHO REMAIN UNMATCHED
                            (PRETRIAL ORDER 40)
______________________________________________________________________________

       In compliance with Pretrial Order 40, Plaintiffs’ counsel hereby notifies the Court of the

plaintiffs who remain unmatched with a specific Contractor Defendant and the civil action

number of the original complaint in which they were named:

              CLAIMANTS                                     COURT CASE NUMBER
              Amie Galle                                    2:10-cv-1358
              S. G. by Amie Galle                           2:10-cv-1358
              LaMarcus Harried                              2:10-cv-1358

       Respectfully submitted, this the 17th day of June, 2010.



                                                    By:             s / Rose M. Hurder
                                                                    Rose M. Hurder
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
